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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      LYNCHBURG DIVISION


  MICHELLE JULIA-RUTH SNYDER CANNELLA,                  CASE NO. 6:19-CV-00065
                                   Plaintiff,
          v.                                            ORDER

  RUTH DIAZ,
                                                        JUDGE NORMAN K. MOON
                                   Defendant.

        This matter is before the Court on Plaintiff’s application to proceed in forma pauperis

under 28 U.S.C. § 1915. Section 1915(e)(2) provides that a “court shall dismiss the case

[proceeding in forma pauperis] at any time if the court determines that . . . the action or appeal is

frivolous . . . .” Plaintiff’s action is frivolous, and so the case will be dismissed.

        Plaintiff’s claim alleges no discernible right based in state law, federal law, or any manner

of law. The harm alleged by Plaintiff and whom Plaintiff identifies as the Defendant causing such

harm are both uncertain. Even construing this pro se complaint liberally, it does not contain

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007); id. at 555 (“[A] plaintiff’s obligation to provide the ‘grounds’ of his

entitle[ment] to relief requires more than labels and conclusions . . . .” (citations omitted)).

        Plaintiff’s application to proceed in forma pauperis is GRANTED, but her action is

DISMISSED as frivolous. The Clerk of the Court is directed to strike this action from the active

docket. The Clerk of the Court is also directed to send a certified copy of this Order to Plaintiff.

        Entered this 20th day of September, 2019.




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